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                         UNITED STATES DISTRICTCOURT
                           DISTRICT OF CONNECTICUT


                                 NOTICE TO COUNSEL


       This case is designated as an electronically filed case. This means that all
pleadings will be required to be filed electronically, pursuant to the accompanying
Electronic Filing Order. Documents filed electronically must be filed in OCR text
searchable PDF format. The procedures contained in the District’s CM/ECF
Policies and Procedures Manual will apply and counsel will be required to register
with the Clerk’s Office and provide an email address. The Manual can be found
on the court’s website at www.ctd.uscourts.gov. All activity in the case (e.g.,
pleadings, orders, notices and calendars) will be filed/sent electronically from that
date forward.

       If electronic filing would impose an undue burden on counsel or the parties,
you may move to vacate the Electronic Filing Order, for good cause shown. Any
pleadings filed before the effective date, including a motion to vacate the Electronic
Filing Order, should be filed in paper form.

       SO ORDERED.



                                                 /s/ Victor A. Bolden
                                                Victor A. Bolden
                                                United States District Judge




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                            ELECTRONIC FILING ORDER

       The Court orders that the parties in this case shall file electronically all

documents.

       The following requirements are imposed:

       1.        Counsel must comply with all applicable Federal Rules of Criminal

                 Procedure, the District's Local Rules and the requirements set forth in the

                 District's CM/ECF Policies and Procedures Manual, and any other rules

                 and administrative

                 procedures that implement the District's CM/ECF system.

       2.        Documents filed electronically must be filed in OCR text searchable PDF

                 format.

       3.        Unless otherwise ordered, on the business day next following the day on

                 which a document is filed electronically, counsel must provide Chambers

                 with one paper copy of the following e-filed documents:

Criminal Cases: All pleadings (including briefs and exhibits) supporting or opposing

the following:

       a.        Motions to dismiss the indictment;
       b.        Motions to suppress;
       c.        Motions to modify presentence reports;
       d.        Requested jury instructions;
       e.        Trial briefs; and
       f.        Any other filing requested by the court.


                                                   /s/ Victor A. Bolden
                                                   Victor A. Bolden
                                                   United States District Judge
